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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY


 In re:                                                         Chapter 11

 BED BATH & BEYOND INC., et al.,                                Case No. 23-13359 (VFP)
                                                    1
                                         Debtors.               (Jointly Administered)


     NOTICE OF CANCELLATION OF HEARING SCHEDULED FOR JULY 24, 2023 AT
                10:00 A.M. (ET) AND RESCHEDULED HEARING ON
                          JULY 31, 2023 at 10:00 A.M. (ET)




 1      The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
        the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
        website of the Debtors’ claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of
        Debtor Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11
        cases is 650 Liberty Avenue, Union, New Jersey 07083.



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         PLEASE TAKE NOTICE that on May 22, 2023 the United States Bankruptcy Court for
 the District of New Jersey (the “Court”) entered the Order (I) Establishing Procedures to Sell
 Certain Leases, (II) Approving the Sale of Certain Leases, and (III) Granting Related Relief
 [Docket No. 422] (the “Lease Sale Procedures Order”), 2 by which the Court, among other things,
 approved expedited procedures for the assumption and assignment of unexpired leases and granted
 related relief.

         PLEASE TAKE FURTHER NOTICE that on June 27, 2023, the Debtors filed the Notice
 of Successful and Backup Bidder with Respect to the Phase 1 Auction of Certain of the Debtors’
 Lease Assets and Assumption and Assignment of Certain Unexpired Leases [Docket No. 1114]
 (the “Notice of Successful Bidder”) which set the Lease Sale Objection deadline as July 11, 2023
 at 5:00 p.m. (prevailing Eastern Time) with respect to any lease in the Phase 1 Lease Sale Process.

        PLEASE TAKE FURTHER NOTICE on June 30, 2023, the Debtors filed the Notice of
 Assumption of Certain Unexpired Leases [Docket No. 1157] which set the Assumption Objection
 (together with the Lease Sale Objection, the “Lease Objection”) deadline as July 11, 2023 at 5:00
 p.m. (prevailing Eastern Time) with respect to any lease in the Phase 1 Lease Sale Process.

        PLEASE TAKE FURTHER NOTICE that the hearing scheduled for July 24, 2023, at
 10:00 a.m. (prevailing Eastern Time) is cancelled.

        PLEASE TAKE FURTHER NOTICE that the Phase 1 Lease Sales identified on Exhibit
 A, annexed hereto, are resolved and may be approved without a hearing.

        PLEASE TAKE FURTHER NOTICE that the Lease Objections identified on Exhibit
 B, annexed hereto, will go forward at the rescheduled hearing on July 28, 2023, at 10:00 a.m.
 (prevailing Eastern Time) (the “Hearing”).

        PLEASE TAKE FURTHER NOTICE that if you resolved your Lease Objection with
 the Debtors’ counsel, you do not need to attend the Hearing.

                                [Remainder of page intentionally left blank]




 2   All capitalized terms used but not otherwise defined herein shall have the meaning ascribed to them in the Lease
     Sale Procedures Order or the Debtors’ Motion for Entry of an Order (I) Establishing Sales Procedures,
     (II) Approving the Sale of Certain Real Property and Leases, and (III) Granting Related Relief [Docket No. 193],
     as applicable.



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Dated: July 21, 2023
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                                                                      Exhibit A

                                                                   Resolved Leases

 Store       Address                                  City/State            DN        Stated Cure   Asserted Cure     Resolution
 No.
 384         1557 Vine Street                         Hollywood, CA         DN 1001   $181.00       $2,039.77         $2,039.77
 3025        8241 West Flagler Street Suite 100       Miami FL              DN 1033   $39,041.00    $40,643.50        $40,643.50
 490         3308 S, Glenstone Ave                    Springfield, MO       DN 1145   $0.00         $13,512.78        $13,512.78
 557         2315 Colorado Boulevard, Suite 180       Denton, TX            DN 1178   $12,542.00    $32,829.97        $36,211.28
 769         4633 S Jack Kultgen Expressway           Waco, TX              DN 1239   $30,787.00    $39,345.89        $39,345.89
 1309        160 Marketplace Boulevard                Hamilton, NJ          DN 1329   $68,214.00    $133,010.11       Subject to further
                                                                                                                      reconciliation
 825         2975 Craig Street                        McKinney, TX          DN1038    $0.00         $83,974.84        $82,332.77
 1409        1320 McFarland Blvd E                    Tuscaloosa, AL        DN921     $3,258.29     $3,258.33         $3,258.00
 525         5450 N. 9th Avenue                       Pensacola, FL         DN955     $30,897.00    $51,954.71        $72,857.99
 1314        1440 Old Country Road                    Riverhead, NY         DN990     $54,611.00    $89,539.56        $99,287.12
 192         11609 Midlothian Turnpike                Midlothian, VA        n/a       $0.00         n/a               $0.00
 318         3001-A101 West Loop 250 North            Midland, TX           n/a       $26,939.00    $26,938.57        $26,938.57
 503         2315 Summa Drive #180                    Las Vegas, NV         n/a       $0.00         n/a               n/a
 542         261 Daniel Webster Highway               Nashus, NH            n/a       $0.00         n/a               $0.00
 585         1430 Texas Avenue South                  College Station, TX   n/a       $0.00         n/a               $0.00
 589         3951 Promenade Parkway                   D'Iberville, MS       n/a       $0.00         n/a               n/a
 841         10 Loudon Rd.                            Concord, NH           n/a       $20,769.83    n/a               $20,769.83
 1002        6001 North West Loop 410                 San Antonio, TX       n/a       $0.00         n/a               $0.00
 1011        200 Aberdeen Commons                     Aberdeen, NC          n/a       $0.00         n/a               $0.00
 1014        1235 Caroline Street NE                  Atlanta, GA           n/a       $0.00         Informal Obj.     $7,000.00
 1175        601 E. Dimond Boulevard                  Anchorage, AK         n/a       $40.444.80    n/a               $40.444.80
 1237        5160 Highway 70 Suite 600                Morehead City, NC     n/a       $15,054.00    n/a               $15,054.00
 1265        Margie Drive & State Route 247           Warner Robins, GA     n/a       $0.00         n/a               $0.00
 1365        422 W. Loop 281 Suite 200                Longview, TX          n/a       $10,682.96    n/a               $10,682.96
 3086        202 Morrell Road                         Knoxville, TN         n/a       $16,347.22    n/a               $16,347.22
 1094        2955 Cobb ParkwaySE                      Atlanta, GA           DN 1310   $6,796.00     $9,296.00         $9,296.00
 507         3640 Long Beach Road                     Oceanside, NY         DN 1232   $1,049.38     n/a               $1,049.38



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                                                                    Exhibit B

                                               Leases Being Addressed on July 28, 2023

 Store
 No.        Address                            City/State             DN.        Stated Cure   Asserted Cure                                 Status

                                               West Palm Beach,
    55      1875 Palm Beach Lakes Blvd.
                                               FL                                                                Cure Amount to be finalized. All
                                                                      DN 1315       $738.00         $5,000.00          other objections resolved.
    86      10011 East 71st Street             Tulsa, OK              DN 1240    $16,143.00       $33,914.30                          Not resolved.
                                                                      DN. 1340
   126      12520 Fountain Lake Circle         Stafford, TX                           $0.00       $10,000.00
                                                                      and 1344                                                        Not resolved.
   149      400 Grossman Drive                 Braintree, MA          DN. 1324                    $24,500.00     Resolved, subject to reconciliation
                                                                                  $6,451.00                                         of cure amount.
   301      2719 Edmondson Road                Cincinnati, OH         DN 1326        $79.00      $288,607.10                           Not resolved.
                                                                                                                           Resolved subject to final
                                                                                                                         reconciliation of cures and
   385      1400C Glades Road                  Boca Raton, FL         DN. 1328                    $20,000.00
                                                                                                                          finalizing assumption and
                                                                                      $0.00                                  assignment agreement.

   454      2701 N. Federal Highway            Ft. Lauderdale, FL     DN. 1324        $0.00       $24,500.00     Resolved, subject to reconciliation
                                                                                                                                    of cure amount.
   544      412 S. Bryant Ave                  Edmond, OK             DN1318          $0.00             $0.00                             Resolved.

   556      320 CBL Drive                      St. Augustine, FL                                                 Cure Amount to be finalized. All
                                                                      DN 1315         $0.00          $3,500.00         other objections Resolved
                                                                                               55,478, plus
                                                                      DNs.
                                                                                               pro rata share
   577      San Patricio Plaza                 Guaynabo, PR           795,1119
                                                                                               of 32,675.66
                                                                      , 1291
                                                                                 $55,478.00    taxes                                  Not resolved.
   591      10060 W. McDowell Road             Avondale AZ            DN 1330    $77,172.28      $120,658.28                          Not resolved.
                                               Washington CIty,
   777      844 W. Telegraph Steet                                    DN 1293         $0.00
                                               UT                                                 $17,740.50                          Not resolved.
   1024     963 East Interstate Highway 30     Rockwall, TX           DN 1289         $0.00            $0.00                          Not resolved.




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                                                                     DN 917,
   1044     200 Colony Place                    Plymouth MA          1309,           $0.00
                                                                     1381                       $4,817.44                         Not resolved.
                                                                     DNs.
                                                                     744,
   1096     404 Route 3 West                    Clifton, NJ          1023,
                                                                     1304,                                            Resolved subject to final
                                                                     1357       $41,869.11     $66,921.21              reconciliation of cures.
                                                                                                            Use objection Pending, all other
                                                                                                            objections resolved. Hearing to be
   1107     1050 McKinley Place Drive           San Marcos, TX       DN 1360                                adjourned until a date set in
                                                                                                            August. Landlord waives rent to
                                                                                     $0.00    $102,938.04   the extent applicable for August.
   1110     Miracle Marketplace                 Miami FL             DN1298     $82,955.00   $109,278.94                          Not resolved.
   1142     2203 Promenade Boulevard            Rogers, AR           DN 1323    $28,384.75     $46,521.47                         Not resolved.
   1143     Colonial Landing                    Orlando FL                                                    Cure Amount to be finalized. All
                                                                     DN 1315    $21,966.00    $135,430.01           other objections Resolved
   1177     3100 14th Street NW                 Washington, DC       DN 1295   $190,420.00    $257,165.85                         Not resolved.
   1268     Building # 4                        Sarasota, FL         DN 1331    $47,957.00    $147,338.06                         Not resolved.
   1333     1365 Eglin Street                   Rapid City, SD       DN 1305         $0.00     $68,348.89                            Resolved.
                                                Panama City Beach,
   1367     15600 Panama City Beach Parkway                          DN 1281
                                                FL                               $5,280.85      $5,402.15                            Resolved.
   1405     208 Grand Hill Place                Holly Springs, NC    DN 1330         $0.00                   Resolved, subject to reconciliation
                                                                                               $48,523.11                       of cure amount.
   3108     149 Serramonte Center               Daly City, CA        DN1328    $126,816.00    $154,590.00                         Not resolved.
   3076     3700 West Torrance Blvd             Torrance, CA         DN 1320         $0.00     $41,450.00                         Not resolved.
   3036     1440 Central Avenue                 Colonie, NY          DN 1012    $30,906.00     $44,915.59                         Not resolved.




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